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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Norfolk Division
UNITED STATES OF AMERICA,
v. Criminal No. 2:15CR7
CHRISTOPHER SMITH,
Petitioner.
MEMORANDUM OPINION

Christopher Smith, a federal inmate proceeding pro se, filed this 28 U.S.C. § 2255 Motion
to vacate, set aside, or correct his sentence. (ECF No. 230.) Smith contends that he is entitled to

relief upon the following grounds:!

Claim One “Ineffective Assistance of Counsel.” (Jd. at 4.)

Claim Two “Constructive Amendment of [J]ndictment.” (Ud. at 5.)

Claim Three “Contract Law/[B]reach of [P]lea [A]greement.” (/d. at 6.)

Claim Four Udagy of [E]ssential [E]lements of [] 924(c) [V]iolation.”
. at 8.

The Government filed a response. (ECF No. 235.) The Court subsequently directed Smith
to show cause as to why Claims Two, Three, and Four should not be dismissed as procedurally
defaulted, as those claims did not appear to be raised on direct appeal. (ECF No. 252.) Smith filed
a response, in which he conceded that those three claims were not raised on direct appeal. (ECF
No. 256, at 1.) Among other things, Smith stated that “the mere fact that the issues raised [in

Claims Two, Three, and Four] were not brought up on direct appeal further substantiates Smith’s

 

'! The Court employs the pagination assigned by CM/ECF docketing system to the parties’
submissions. The Court corrects the capitalization, punctuation, and spelling in the quotations
from Smith’s submissions.
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claims of ineffective assistance of counsel.” (/d.) The Court liberally construes Smith’s contention
to be that the perceived ineffective assistance he received from counsel constitutes good cause for
his procedural default.” For the reasons stated herein, Claim One will be dismissed because Smith
has failed to adequately demonstrate that he received ineffective assistance of counsel. Claims
Two, Three, and Four will be dismissed, as they were procedurally defaulted.
I. PROCEDURAL HISTORY

On April 22, 2015, the grand jury returned a four-count third superseding indictment

(the “Indictment”) charging Smith with:

Count I Conspiracy to manufacture, distribute, and possess with intent to distribute
one kilogram or more of a mixture and substance containing a detectable
amount of heroin, in violation of 21 U.S.C. §§ 846, 841(a)(1), and
841(b)(1)(A). (ECF No. 69, at 1-13.)

Count II Possession with intent to manufacture and distribute one kilogram or more
of a mixture and substance containing a detectable amount of heroin, in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A) in or about July 2014.
(id. at 14.)

Count III Possession with intent to manufacture and distribute 100 grams or more of.
a mixture and substance containing a detectable amount of heroin, in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B) on September 11,
2014. (d.)

Count IV Possession of firearms in furtherance of, and use and carry of firearms
during and in relation to, one or more drug trafficking crimes, in violation
of 18 U.S.C. § 924(c)(1)(A).? (id. at 15.)

 

2 In his response to the Court’s Order to Show Cause, Smith requested an indefinite
extension of time or stay in abeyance, “[d]ue to the corona virus pandemic.” (ECF No. 256, at 1.)
In this instance, an indefinite extension or stay is not feasible. The Court has afforded Smith the
benefit of liberal construction and construed his Response as stating a colorable claim that good
cause exists to excuse his failure to raise Claims Two, Three, and Four on direct appeal. As such,
further delay of proceedings is both unnecessary and unwarranted.

3 Counts I, II, and IV each carried possible maximum terms of life imprisonment. See 21
USS.C. § 841(6)(1)(A); 18 U.S.C. § 924(c)(1)(A). Count Three carried a maximum possible term
of forty years imprisonment. See 21 U.S.C. § 841(b)(1)(B).

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Smith filed a Motion to Dismiss the Indictment as untimely. (ECF No. 95.) Smith also
filed a Motion to Suppress evidence seized from his cell phone. (ECF No. 97.) On July 24, 2015,
the Court held a hearing to address the two motions. (ECF No. 135.) On July 27, 2015, the Court
issued an Order denying both the Motion to Dismiss and the Motion to Suppress. (ECF No. 137.)

The following day, on July 28, 2015, Smith entered a written Plea Agreement
(ECF No. 145) and Statement of Facts (ECF No. 146) with the Government. Smith stipulated that
had the matter gone to trial, the Government would have proved the following facts beyond a
reasonable doubt:

From in or about the fall of 2013 until the date of this plea
hearing the defendant, CHRISTOPHER SMITH, was the Godfather
or highest ranking member of the Imperial Gangsta Bloods
[(“IGB”)], a Bloods set based in Portsmouth, Virginia, engaged in
narcotics trafficking. Working with members of the [IGB] and
others, the defendant distributed and possessed with intent to
distribute in excess of 4.25 kilograms of heroin in the Eastern
District of Virginia. The [IGB] membership exceeded five people,
who were managed by the defendant and others within the
organization, and who distributed narcotics for the organization.

In the beginning of 2014, SMITH began purchasing heroin
from A.O., a/k/a “Muscle.” SMITH would regularly purchase over
$10,000 worth of heroin each time. Muscle supplied SMITH with
several kilograms of heroin during the beginning of 2014.

In April of 2014, SMITH found a new supplier in New York
named Ricky Jackson, a/k/a “Sosa,” who sold SMITH high purity
heroin. SMITH had met Jackson at the end of 2013 and purchased
50 grams of heroin from him at that time. Once the business
relationship was formalized, SMITH purchased 150 grams of pure
heroin in April, 300-400 grams of heroin in May, half a kilogram in
June, and half a kilogram in July. For the July trip Smith used his
brother, Dwayne Banks, and his girlfriend, J.M., to make the
purchase. After each of these trips, Smith cut the heroin and then
gave it to members of the IGB, including Junious Whitaker, to sell
on behalf of the gang. In September of 2014 Smith intended to
purchase a kilogram of heroin, but his money was short and he could
only purchase approximately 280 grams and cutting agent. Smith
was arrested on. . . the trip back to Virginia.
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During August of 2014, SMITH’S gang and a drug
organization run by Jason and Jeremy Saunders were involved in
several altercations stemming from the groups’ heroin dealing
operations, At one point in August 2014, SMITH gave the order for
the Saunders brothers to be eliminated. On August 19, 2014, gang
members Junious Whitaker, a/k/a “Redd,” P.S., and “Little Homie”
ambushed Jeremy Saunders and shot him three times. Five days
later, SMITH, Redd, and P.S. attacked the Saunders’ drug
distribution center located on Appomattox Avenue in Portsmouth.
Shots were fired by both sides, but no one was injured. SMITH
carried a gun during this attack but failed to disengage the safety and
was not able to get off a shot during the battle.

While incarcerated, Smith has regularly informed non-
incarcerated gang members of which IGB members were
cooperating with law enforcement. He has also instructed those
gang members to tell other gang members who are incarcerated
about who is cooperating. Although he never gave a direct order to
hurt or kill a government cooperator, the nature of the conversations
clearly indicates he was trying to dissuade witnesses from testifying.
SMITH also used more subtle means to attempt to dissuade his
former girlfriend J.M. to refuse to testify against him either. SMITH
even used the Court’s own PACER system to identify cooperators
through plea hearings and transportation orders.

The acts taken by the defendant in furtherance of the
offenses charged in this case, including the acts described above,
were done willfully and knowingly with the specific intent to violate
the law. The defendant acknowledges that the foregoing statement
of facts does not describe all of the defendant’s conduct relating to
the offenses charged . . . nor does it identify all of the persons with
whom the defendant may have engaged in illegal activities ....

(ECF No. 146, at 1-4 (paragraph numbers omitted).) Among other things, Smith’s Plea
Agreement contained the following clause:

The defendant agrees to plead guilty to Counts One and Four
of the pending indictment. Count One charges the defendant with
Conspiracy to Distribute Narcotics, in violation of Title 21, United
States Code, Sections 846, 841(a)(1), and 841(b)(1)(A). The
maximum penalties for this offense are: a mandatory minimum term
of twenty years of imprisonment as a result of the defendant’s prior
felony drug conviction, a maximum term of life imprisonment ....
The United States agrees to file an information pursuant to Title 18,
United States Code, Section 851, relying on only one prior felony
drug conviction.! Count Four charges the defendant with

 

4 Smith had two prior felony drug convictions. (ECF No. 161 49 30, 45, 47, 52.)
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Possession of Firearms in Furtherance of, and Using and Carrying
Firearms During and in Relation to, One or More Drug Trafficking
Crimes, in violation of Title 18, United States Code, Section 924(c).
The maximum penalties for Count Four are: a mandatory minimum
term of five years of imprisonment consecutive to the sentence
imposed on Count One, a maximum term of life imprisonment... .

(ECF No. 145, at 1-2.)

On that same day, July 28, 2015, Smith appeared before a Magistrate Judge for a plea

hearing. (ECF No. 207, at 1-2.) The Magistrate Judge placed Smith under oath, and Smith

acknowledged that he was subject to prosecution for perjury if he testified falsely. (fd at 4-5.)

Among other things, Smith testified that he:

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. reviewed the indictment and charges with his attorney (id. at 7);
. understood the elements of Count I that the Government had to prove (id. at 8);

understood that he was facing a life sentence on Count I (id. at 8-9);

. understood that Count I carried a minimum sentence of ten years (id.);
. understood that if the Government established that he had a prior conviction, the ten-year

minimum sentence he faced on Count I would increase to a twenty-year mandatory
minimum (id. at 9);

understood the elements of Count IV that the Government had to prove (id. at 9-10);
understood that he faced a life sentence on Count IV (id. at 10);

understood that Count IV carried a minimum sentence of five years (id.);

acknowledged the Statement of Facts he signed before the Court (id. at 25-28);

. read the Statement of Facts (id. at 25);
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reviewed the Statement of Facts with his attorney (id.);
understood everything in the Statement of Facts (id.);

. agreed with everything contained in the Statement of Facts (id. at 27);
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acknowledged the Plea Agreement he signed before the Court (id. at 12);

read the Plea Agreement and went over it with his attorney (id.);

understood everything contained in the Plea Agreement (id.);

acknowledged that a prior plea offer had been extended by the Government, but that he
had rejected it (id. at 12-13);

stated that the decision to reject the prior plea offer was his own decision (id. at 13);
understood that he had a right to plead not guilty (id. at 13-14);

stated that no one had made any promises in exchange for his plea that were not contained
in his Plea Agreement (id.);

stated that no one had threatened him or tried to force him to plead guilty (id.);

. understood that if the Government recommended a particular sentence, that

recommendation would not be binding on the Court (id. at 17);
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23. understood that if the Government did not oppose his attorney’s recommended sentence,
or even if the Government agreed with his attorney about an appropriate sentence, the
Court would not be required to follow that recommendation (id.);

24. acknowledged that he had time to discuss his case with his attorney (id.);

25. stated that he had “[fJully” discussed the facts of his case with his attorney (id.);

26. stated that he was satisfied that his attorney had fully considered the facts of the case and
discussed with him any possible defenses that he may have (id.);

27. understood that the sentencing guidelines applied to both Counts I and IV and that the
Court would consult the guidelines when determining his sentence (id. at 18);

28. understood that various factors impacted the guidelines, including his conduct, the role
that he played in the conspiracy, any obstruction he may have engaged in, his criminal
history, and his acceptance of responsibility (id.);

29. understood that the guidelines were advisory, but that the Court would give them
consideration at sentencing (id.);

30. understood that following the hearing, but before sentencing, a presentence report would
be generated (id. at 19);

31. understood that it would be impossible for the Court or his attorney to know precisely
what the guidelines would recommend until the presentence report was generated (id.);

32. discussed sentencing guidelines with his attorney (id.);

33. discussed the various considerations that go into determining the guidelines with his
attorney (id. at 19-20);

34. understood that any discussion of the guidelines that he had previously with his attorney
was only an estimate or a prediction (id. at 20);

35. understood that he would not be able to withdraw his guilty pleas if his attorney’s
prediction of the guidelines turned out to be inaccurate (id.);

36. understood that he was giving up the right to appeal his convictions and “any sentence
that the Court imposes up to and including the statutory maximum” as part of his Plea
Agreement (id. at 20-21);

37. reaffirmed that he understood that by signing this Plea Agreement and pleading guilty to
Counts I and IV, he was “giving up [his] right to appeal [his] convictions, and any
sentence the Court imposes up to and including life in prison” (id. at 21);

38. stated that he entered the Plea Agreement and his pleas to both Count I and Count IV
freely and voluntarily (id. at 21, 24-25);

39. stated that he was pleading guilty because he was in fact guilty (id. at 24-25); and,

40. acknowledged that the Government could prove the case against him beyond a reasonable
doubt (id. at 27).

The Magistrate Judge found that Smith’s pleas were knowing and voluntary and that they
were supported by an independent basis in fact. (/d. at 28.) The Magistrate Judge accepted Smith’s
guilty pleas to Counts I and IV. (/d.; see also ECF No. 148, at 1.) The Magistrate Judge informed
Smith that, while he had accepted Smith’s guilty pleas, it remained for the District Court to find

him guilty and impose his sentence. (ECF No. 207, at 28.) Pursuant to the Plea Agreement, the
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Government filed an information certifying only one of Smith’s two prior felony drug convictions,
(ECF No. 140), thereby increasing Smith’s mandatory minimum term of imprisonment for Count
One from ten to twenty years. See 21 U.S.C. § 841 (b)(1)(A) (West 2008).°

Following Smith’s plea hearing, the probation officer generated a Presentence
Investigation Report (“PSR”). (ECF No. 161.) The PSR categorized Smith as a “career offender”
based upon his criminal record. (/d. J] 30, 52.) Smith received a Total Offense Level of 40 and a
Criminal History Category of IV, resulting in an advisory guidelines range of 360 months to life
imprisonment on Count I, plus a consecutive 60-month sentence on Count IV.
(id. {§ 85-86.)

On October 30, 2015, Smith appeared before the District Court for sentencing.
(ECF No. 208.) The Court found Smith guilty based on his prior pleas before the Magistrate Judge.
(id. at 1.) The Court then heard arguments from counsel on Smith’s objection to the PSR and
concluded that he was not entitled to credit for acceptance of responsibility. (/d. at 4-7.) The
Government argued that based on his various attempts to influence witnesses and obstruct justice
pending trial, Smith was not entitled to any additional credit. (/d. at 7.) The Court overruled
Smith’s objection, finding that “from beginning to end,” Smith had engaged “in attempts to
intimidate witnesses and to avoid the fate which befell him any way he could,” concluding that
“Mr. Smith has not accepted responsibility.” (/d.)

The Government called two of Smith’s confederates to testify about his leadership role in
the IGB, his extensive narcotics trafficking experiences, and various related crimes of violence.

(dd. at 9-48.) Smith called the mother of his child to speak to his good character. (/d. at 49-58.)

 

> Had the Government certified both of Smith’s prior felony drug convictions, he would
have faced a mandatory life term. See 21 U.S.C. § 841 (b)(1)(A) (West 2008).

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The Government recommended a sentence of 420 months to life on Count I, plus 60 months
on Count IV. (/d. at 66.) Smith’s attorney called the Government’s request “ridiculous,” arguing
that “40 year[] [sentences] should be reserved for the absolutely most heinous murders and rapes
and maimings and sex offenses.” (Jd. at 66-67, 69-70, 73.) Smith’s attorney argued that the
mandatory minimum sentence of twenty-five years established by Congress was “sufficient but
not greater than necessary” to punish Smith for his crimes. (/d. at 66-67.)

Before pronouncing the sentence, the Court gave Smith an opportunity to give a statement.
(id. at 74-76.) Smith apologized to society and to his family and proclaimed that he is “now
rehabilitated and [that he] follows] the path of Jesus Christ.” (/d. at 75-76.) Smith claimed that
he is “not the violent individual that [he was] depicted to be,” and asked the Court to “take into
consideration that nobody was hurt physically in this matter.” (/d. at 74.)

In pronouncing Smith’s sentence, the Court stated the following:

[W]hat happened here and Mr. Smith’s role in it was just
awful. It was evil, not just... it was the most conscienceless
behavior I've seen in 39 years of practicing law.

Mr. Smith imported enormous amounts of heroin into the
Portsmouth area. His henchmen sold it on the street. He tried to kill
rival dealers. His statement today that he didn’t do anything violent
is just completely belied by the Statement of Facts in this case.

The Statement of Facts to which he agreed says that during
August of 2014, Smith’s gang and the drug organization run by
Jason and Jeremy Saunders were involved in several altercations
stemming from the group’s heroin dealing operations. At one point
in August 2014, Smith gave the order for the Saunders brothers to
be eliminated.

And then it says that on August 19th, Redd, PS, and Lil
Homie ambushed Jeremy and shot him three times.

I saw the video of it . . . and candidly I don’t see how they
could have missed him -- how he survived that. They must be just
awful shots . . . it’s surprising to me that they’re still alive.

5 days later... Smith, Redd, and PS attacked the Saunders’
distribution center located on Appomattox Avenue in Portsmouth.
Shots were fired from both sides. No one was injured.
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Smith carried a gun during this attack but failed to disengage
the safety and was not able to get off a shot during the battle.

So, you know, that’s just -- that belies any statement that he’s
not [violent]. And also, his Statement of Facts also belies any
suggestion that he was not trying to influence gang members on the
outside, because he also signed off on this.

While incarcerated, Smith has regularly informed non-
incarcerated gang members of which IGB members were
cooperating with law enforcement. . . .

So in other words, he got the word out to people in jail and
people out of jail about who was cooperating. And the only reason
to do that is to intimidate those people. He was one of the highest
ranking members in the Bloods, and certainly ran the show in
Portsmouth.

The nature and circumstances of this offense are horrible.

The history and characteristics of the defendants. Well,
obviously he has a long criminal history and, as I look at it, the only
time he’s not committing crimes is when he’s in jail... .

... If | had to summarize his character, I would simply say
that he is evil.

. . . [T]his whole Blood operation in Portsmouth is just
incredibly, incredibly bad. It’s a very serious offense. We have not
only the drug aspect of it, which poisons the lives of everybody who
uses the heroin that comes into Portsmouth, but then we have all of
these other things that were part of the -- I guess you’d call it the
business plan for the Bloods, which involves violence and
intimidation. I don’t see how anybody could feel safe living in
Portsmouth with Mr. Smith on the street.

... Pm to consider . . . the need to promote respect for the
law, and obviously it’s none of it here. Just punishment requires a
long sentence.

Now, Mr. Sacks makes the point that our sentencing laws are
out of control in terms of the length of sentences, and that when he
and I were both starting out, a life sentence meant that you got out

in 15 years....
Sentences in many cases are too long, especially for drug
offenses, but this goes way beyond drug offense .... Mr. Sacks

said that [a forty-year sentence] was the kind of thing that ought to
be reserved for people who murder or commit sex offenses, or rape,
or maim or whatever. Well, only by bad marksmanship are we not
there today.

This conduct is every bit as vile as what you see in murders,
rapes, and so forth.
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... 1 don’t know what gets people into this lifestyle -- well,
I have some ideas about it, but I know that lengthy sentences don’t
deter anybody from going into it.... [H]ere you have a man who
spent years in prison and what he’s trying to do is figure out a way
he can become a kingpin when he gets out... .

. .. [There is] a need for the sentence to protect the public
from further crimes of the defendant.

This is clearly, I think, the most important factor in this case.
Mr. Smith was a threat to everybody in Eastern Virginia, maybe
even farther away. There’s nothing more to say about it than that.
He just was a threat to everybody within driving range of wherever
he was.

There’s a motion for a variance today to vary downward to
the mandatory minimum sentence of 25 years, and essentially the
basis for Mr. Sacks arguing that is that 25 years essentially is long
enough for him to learn his lesson and become a better person ....

That motion is denied. These facts are just too bad, too
incredibly bad, for anything underneath the guideline range.

All right. Stand up, please, Mr. Smith.

Mr. Smith, for the reasons that I just stated, and while there
is a long range of times that I could give you, J think that I’ve
articulated the things that concern me most in this case.

I sentence you to .. . life on the drug charge and 5 years to
run consecutive to that on the gun charge.

... 1 think that this sentence is sufficient but does not exceed
the amount of time necessary to achieve the goals of sentencing as
set forth in 18 US Code, Section 3553.

Specifically, a sentence of life plus this extra 5 years will
reflect the seriousness of the offense, promote respect for the law,
provide just punishment for the offense, afford adequate deterrence
to criminal conduct, and protect the public from further crimes that
Mr. Smith may commit.

Mr. Smith, it’s a long time, sir, and . . . [hope you have made
peace with your creator, as you indicated today. Good luck, sir, and
God bless you.
(Id. at 77-86.)
After Smith was sentenced on Counts I and IV, the Government, pursuant to the Plea

Agreement, moved to dismiss the remaining counts. (/d. at 86.) The Court granted that motion.

id.)

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Smith noted an appeal. (ECF Nos. 196, 197.) Smith argued that the Court erred (1) by
denying his motion to dismiss the Indictment on timeliness grounds, and (2) by “imposing an
unreasonably lengthy sentence of life plus 60 months.” United States v. Smith, No. 15-4654 (4th
Cir. May 10, 2016); (ECF No. 40, at 2.) The United States Court of Appeals for the Fourth Circuit
dismissed Smith’s appeal based on the waiver of appellate rights contained in the Plea Agreement.
(ECF No. 214.) After the United States Supreme Court denied Smith certiorari (ECF No. 227),
Smith filed the § 2255 Motion (ECF No. 230) that is presently before the Court.

Il. INEFFECTIVE ASSISTANCE OF COUNSEL

To demonstrate ineffective assistance of counsel, a convicted defendant must show, first,
that counsel’s representation was deficient, and second, that the deficient performance prejudiced
the defense. Strickland v. Washington, 466 U.S. 668, 687 (1984). To satisfy the deficient

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performance prong of Strickland, the convicted defendant must overcome the “‘strong
presumption’ that counsel’s strategy and tactics fall ‘within the wide range of reasonable
professional assistance.” Burch v. Corcoran, 273 F.3d 577, 588 (4th Cir. 2001) (quoting
Strickland, 466 U.S. at 689). The prejudice component requires a convicted defendant to “show
that there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the
proceeding would have been different. A reasonable probability is a probability sufficient to
undermine confidence in the outcome.” Strickland, 466 U.S. at 694. In analyzing ineffective
assistance of counsel claims, it is not necessary to determine whether counsel performed
deficiently if the claim is readily dismissed for lack of prejudice. Jd. at 697.

In the context of a guilty plea, the Supreme Court has modified this second prong of

Strickland to require the defendant to “show that there is a reasonable probability that, but for

counsel’s errors, he would not have pleaded guilty and would have insisted on going to trial.” Hill

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v. Lockhart, 474 U.S. 52, 59 (1985). In the absence of extraordinary circumstances, the truth of
the sworn statements made during a Rule 11 plea hearing is “conclusively established.” United
States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005).
In his § 2255 Motion, Smith presents Claim One, which generically avers that Smith’s
attorney was ineffective without providing any details or factual support for that allegation.
(ECF No. 230, at 4.) Smith did, however, provide a rambling, and, at times, incoherent seventy-
four-page Memorandum in Support, which he purports to incorporate into his § 2255 Motion.
(ECF No. 231.) In his Memorandum in Support, which lacks discernable structure and
organization, Smith includes a number of thoughts and arguments, some of which appear to be
inchoate, which the Court has nevertheless reviewed and considered. As best as the Court can
discern, Smith’s Claim One can be divided into the following subparts:
(1) Counsel “never attempted to ascertain whether the factual predicate of the firearms
offense was satisfied, [or] to inform [Smith] fully as to the nature of those charges”
(id. at 5);

(2) Counsel “fail[ed] to object to the fact[] [that] the Court constructively amend[ed]
Count[s] 1 and 4 of the [I]Jndictment by altering [them] to change the elements of

the offense charged” (id. at 8);

(3) Counsel “informed . . . [Smith] that if he [did] not plead guilty that his mother and
sister would be indicted” (id, at 52); and,

(4) Counsel “advised [Smith] that if he pleaded guilty, that he would receive 30 years
in prison instead of life” (id. at 54).

Smith’s attorney, Andrew Sacks, submitted a very detailed affidavit denying each claim.
(ECF No. 235-2.) Specifically, Mr. Sacks stated that his “pretrial and pre-plea investigation
disclosed sufficient evidence of the factual predicate for the firearms offense,” which was reflected
in “the Statement Of Facts signed by [Smith] . . . which was affirmed by him under oath,” and was

“confirmed and corroborated” by the Government’s witnesses at sentencing. (/d. at 7.) Mr. Sacks

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further maintained that he did not object to the “constructive amendment” of the Indictment
because the Indictment was never constructively amended. (/d. at 7-8.) Mr. Sacks also flatly
denies that he told Smith his family may face criminal sanctions if he did not plead guilty, or that
he promised Smith that he would receive any sentence in particular. (/d. at 9-10.)

As an initial matter, Smith’s constructive amendment claim (Claim One, Subpart 2) is one
of the more incoherent aspects of his § 2255 Motion and is obviously deficient. Smith pled guilty
to and was sentenced upon the same Indictment that was returned by the grand jury without
modification or adulteration. Neither the Government, nor the Court, nor Smith’s attorney
amended the Indictment, either actually or constructively, nor did either party offer any arguments
even suggesting such a change. As Mr. Sacks correctly articulates, “the Government simply
presented evidence and argument that was relevant in support of their sentencing position on the
Counts of conviction.” (/d. at 8.) While Mr. Sacks attempted to “refute[] the accuracy and weight
of [the Government’s] evidence . . . no good faith [basis] in law or in fact . .. would have warranted
the kind[] of objection[] that [Smith] claims [Mr. Sacks] should have made.” (/d.) As such, Smith
has failed to show that Mr. Sacks was deficient in this regard, much less that he was prejudiced in
any way.

As for Claim One, Subparts 1, 3, and 4, Smith remains bound by his prior sworn statements
at the Rule 11 plea hearing. See Lemaster, 403 F.3d at 221-22; see also Fields v. Attorney Gen.
of State of Md., 956 F.2d 1290, 1297-99 (4th Cir. 1992) (observing that statements made under
oath at Rule 11 hearing are binding absent “clear and convincing evidence to the contrary”).
Smith’s newly-minted claims to the contrary are self-serving and conclusory, and do not constitute
“clear and convincing evidence,” or establish the sort of “extraordinary circumstances” that would

require the Court to consider Smith’s prior sworn statements at the Rule 11 plea hearing to be

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anything other than truthful. Lemaster, 403 F.3d at 221-22. Consequently, Smith’s prior sworn
statements are “conclusively established.” Jd.

At the Rule 11 hearing, Smith expressly stated that he understood the elements of Count
IV and what the Government had to prove to convict him. (ECF No. 207, at 9-10.) Smith
acknowledged the Statement of Facts that he had signed. (ECF No. 207, at 25-28.) Smith said
that he read it, understood it, reviewed it with his attorney, and agreed with everything contained
in it. (id.) Smith further said that he was pleading guilty because he was in fact guilty, and he
expressly conceded that the evidence was sufficient to prove his guilt beyond a reasonable doubt.
(Id. at 24-25, 27.) Smith also expressly told the Magistrate Judge that he had “[fJully” discussed
the facts of the case with his attorney and that he was satisfied that his attorney had fully considered
the facts of the case and discussed with him any possible defenses. (/d. at 17.) Given the foregoing
exchange, Smith has failed to show that counsel was deficient with regard to Claim One,
Subpart 1, much less that he was prejudiced in any way.

Smith further testified that he had not been threatened in any way and that no one had tried
to force him to plead guilty. (/d. at 16.) Consequently, Smith has again failed to show that counsel
was deficient with regard to Claim One, Subpart 3, much less that he was prejudiced in any way.

Smith also testified that he had not been promised anything that was not contained in the
Plea Agreement. (/d.) Moreover, the Magistrate Judge expressly warned Smith that the Court
would not be bound at sentencing by any recommendation made by the Government or his
attorney, even if they agreed to recommend the same sentence. (/d. at 17.) Smith indicated his
understanding. (/d.) Consequently, Smith has failed to show that counsel was deficient with

regard to Claim One, Subpart 4, much less that he was prejudiced in any way.

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Finally, in his response brief to the Government’s Motion to Dismiss, Smith seems to recast
Claim One in terms that seem to strike more to the heart of his concerns. Specifically, Smith states
that “[c]onsidering he could have went to trial and received the same life sentence,” it was an error
for Mr. Sacks to “not inform[] him that he would receive life even after accepting the Plea
Agreement.” (ECF No. 236, at 4.) Smith states that he “never would have accepted a guilty plea
had he known the result would be a life sentence.” (/d.) Smith then goes on to say that his plea
was the product of fear and coercion because Mr. Sacks told him that if he did not accept the
Government’s plea, he would receive a life sentence. (/d. at 2.) This latest iteration of Claim One
continues to miss the mark.

The Magistrate Judge warned Smith that any discussion he may have with his attorney
concerning his sentencing guidelines would only be an estimate or a prediction. (ECF No. 207, at
19-20.) The Magistrate Judge also expressly warned Smith that the Court would not be bound at
sentencing by any recommendation made by the Government or his attorney. (/d. at 17.) The
Magistrate Judge further cautioned Smith that his Plea Agreement contained an appeal waiver,
which meant that he gave up the right to appeal “any sentence that the Court imposes up to and
including life in prison.” (/d. at 21.) In each instance, Smith indicated his understanding. (Jd. at
17, 19-21.) Thus, Smith cannot fairly claim he was not aware of the gravity of his situation.

Simply put, Mr. Sacks could not fairly and accurately “inform[] [Smith] that he would
receive life,” as Smith seems to think he should have done. First, Mr. Sacks (and the attorneys for
the Government) have only the power to recommend a sentence to the Court. As the Magistrate
Judge told Smith, the Court was free to sentence Smith as it saw fit, notwithstanding any
recommendations to the contrary. Second, and more importantly, Mr. Sacks could not tell Smith

what sentence he would receive with certainty because there was no way for Mr. Sacks, or anyone

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else for that matter, to know what sentence Smith would receive before he received it. The Court
did not decide Smith’s sentence until after it had heard from all the witnesses, heard all the
arguments, and heard Smith’s statement to the Court. As such, the Court cannot fault Mr. Sacks
for failing to prospectively tell Smith with certainty that he would receive life, or any other specific
sentence for that matter, as Mr. Sacks simply lacked the power to bring about that particular result.

Conversely, and somewhat incongruously, Smith also finds fault with Mr. Sacks advising
him that he would face a life sentence if he did not plead. What Smith mistakes for error, the Court
views as providing sound legal advice based upon a realistic assessment of the facts. If Smith
decided to hazard a trial as fully charged, there was a very high probability that Smith would end
up receiving at least one life sentence, if not multiple life sentences. Bluntly, the Government held
all the cards in this instance, and when Smith was unable to influence or intimidate witnesses as
effectively as he had wished, he was left with little in the way of bargaining power.®

Any fear or coercion that Smith felt given the unenviable position he found himself in was
solely of his own making. Put another way, the fact that Smith lacked a plethora of quality options
in negotiating his plea is a result of his conduct in this case, both before and after being arrested,

and is not attributable to anything that his attorney may have done or not done.

 

6 The case against Smith was exceedingly strong. Inter alia, Smith was caught returning
from New York with a copious amount of heroin; his motion to exclude incriminating cell phone
evidence was denied; at least two of his confederates were willing to testify against him about his
extensive drug trafficking, gang involvement, and related crimes of violence; and the Government
could clearly demonstrate Smith’s extensive efforts to intimidate and influence witnesses, which
could be admitted at trial to show consciousness of guilt, and at sentencing as an aggravating
factor. Three of the four charges against Smith carried possible life sentences. If the Government
chose to certify two of Smith’s prior felony drug convictions, instead of one, he would have faced
a mandatory life sentence. If Smith went to trial, the likelihood of convictions was very high.
Opting for trial under these circumstances, it would seem, would have been an unreasonable
decision given the high probability of receiving a life sentence.

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Mr. Sacks was able to talk the Government into dropping two charges that carried possible
life sentences and only certifying one of Smith’s prior drug felonies, thereby ensuring that he did
not face a mandatory life sentence. He secured for Mr. Smith an opportunity to argue for only
twenty-five years, which, in light of the facts of this case, and the witness intimidation that Smith
engaged in, was a far more generous offer than Smith was reasonably entitled to expect. The mere
fact that Mr. Sacks articulated to Smith the direness of his position does not constitute error.

At bottom, Smith simply wants to avail himself of the benefit of hindsight
(see ECF No. 236, at 4 (“[Smith] never would have accepted a guilty plea had he known the result
would be a life sentence’”)), to undo his Plea Agreement, despite the fact that he thoroughly
acknowledged at the Rule 11 hearing that he knew the risks he was undertaking. Dissatisfied with
the result, Smith blames his attorney for not being able to foresee the future. This is not a valid
basis for an ineffective assistance of counsel claim. Smith has again failed to demonstrate that
counsel was deficient, much less that he was prejudiced in any way.

Accordingly, Claim One, including Subparts 1-4, will be DISMISSED.

III. PROCEDURAL DEFAULT

The procedural default rule bars Claims Two, Three, and Four from review here, absent a
showing of cause and prejudice or actual innocence, because Smith could have raised, but did not
raise, these claims on direct appeal. See Bousley v. United States, 523 U.S. 614, 622-23 (1998);
see also United States v. Linder, 552 F.3d 391, 397 (4th Cir. 2009) (internal quotation marks
omitted) (citation omitted) (explaining that on collateral review a petitioner who waives the right
to appeal “is precluded from raising claims that are the sort that could have been raised on appeal”).
Smith seems to contend that the perceived ineffective assistance of counsel constitutes cause to

excuse his default of these claims. (ECF No. 256, at 1.) That contention lacks merit for the reasons

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discussed below. Cf United States v. Frady, 456 U.S. 152, 167-68 (1982) (noting that when
applying the dual standard of cause and prejudice courts need not examine the issue of cause, if
prejudice is clearly lacking).

A. Claim Two

In Claim Two, Smith seems to argue that the Government “through its presentation of
evidence and its closing argument,” constructively amended the Indictment “by allowing proof of
an alternative predicate offense not charged in the indictment, specifically the distribution of
heroin.” (ECF No. 231, at 4.) Smith also seems to argue that the Court erred by either allowing
or participating in the constructive amendment of Counts I and IV. (/d. at 8.) Smith made a related
claim against his attorney for failing to object to the putative constructive amendment. See Section
II, supra. As discussed above, Smith’s arguments concerning constructive amendment are
incoherent and run counter to the facts of the case. As Mr. Sacks correctly stated in his affidavit,
there was no amendment to the Indictment, constructive or otherwise. (ECF No. 235-2, at 7-8.)
Just as the Court could not fault Mr. Sacks for failing to object to a putative amendment that never
took place, the Court cannot fault Mr. Sacks for failing to address this issue at sentencing or on
appeal to the Fourth Circuit. Because Smith fails to demonstrate deficiency or prejudice, Claim
Two will be DISMISSED.

B. Claim Three

Claim Three, which Smith calls “Contract Law/[B]reach of [P]lea [A]greement, (see ECF
No. 230, at 6), represents another oddity. Smith asks the Court to “consider whether [Smith]
breached the Plea Agreement, and then . . . whether the parties entered into the agreement based
on a mutual mistake . . . [and] ultimately . . . whether to cancel the Plea Agreement on principles

of fundamental fairness.” (ECF No. 231, at 33-34.) Smith concludes that he did not breach the

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Plea Agreement and that the Government has no basis for canceling his Plea Agreement. (/d. at
38-39.) Smith, therefore, posits, the Government should not be able to reinstate Counts II and
III, which were dropped as part of the agreement. (/d. at 47-51.) Underlying Smith’s conclusion
that he did not breach the Plea Agreement seems to be Smith’s belief that the Court lacked the
jurisdiction to sentence him. (/d. at 38-39.)

To the extent Smith seeks interpretation of his Plea Agreement, or questions the Court’s
jurisdiction to sentence him, those issues could have been raised prior to sentencing or on appeal.
As a baseline, the Court is satisfied that jurisdiction in this case was proper. Beyond that, given
the indecipherable and wholly perplexing nature of Claim Three, the Court cannot fault Mr. Sacks
for avoiding any mention of Claim Three at sentencing or on appeal. Because Smith fails to
demonstrate deficiency or prejudice, Claim Three will be DISMISSED.

Cc. Claim Four

Finally, in Claim Four, Smith alleges that the Court misinformed him of the essential
elements of Count IV. (ECF No. 230, at 8; ECF No. 231, at 31, 42.) In conducting the Rule 11
hearing, the Magistrate Judge thoroughly covered the elements of both Counts I and IV with Smith
and ensured that he understood both charges before taking his pleas. (ECF No. 207, at 7-8, 9-10.)
Throughout the colloquy, the Magistrate Judge conveyed the salient and relevant information to
Smith concerning his charges and did not misstate the law. (/d.) The Court can find nothing wrong
with the Magistrate Judge’s handling of the plea colloquy in this regard. It would have been
frivolous for defense counsel to object to the plea colloquy or attempt to raise the issue on appeal.
As such, Smith has failed to show that counsel was deficient or that he suffered prejudice in this

regard.

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Smith, however, maintains that he is actually innocent of Count IV. (ECF No. 231, at 15,
28, 36-38.) Smith argues that the evidence only shows that a gun was present during his drug
trafficking activities, not that he used it in furtherance of his drug trafficking activities. (/d. at 28,
36-38.) This argument lacks merit.

With respect to actual innocence, a “petitioner must demonstrate that, in light of all the
evidence, it is more likely than not that no reasonable juror would have convicted him.” Bousley,
523 U.S. at 623 (citation omitted) (internal quotation marks omitted). Moreover, actual innocence
means “factual innocence, not mere legal insufficiency.” Jd. (citation omitted). Smith has not
satisfied his burden to demonstrate that he is factually innocent of possessing a firearm in
furtherance of a drug trafficking crime. To the contrary, Smith admitted in a signed document,
which he expressly acknowledged before the Magistrate Judge, that:

. .. SMITH, was the Godfather or highest ranking member
of the Imperial Gangsta Bloods [(“IGB”)], a Bloods set based in
Portsmouth, Virginia, engaged in narcotics trafficking. Working
with members of the [IGB] and others, the defendant distributed and
possessed with intent to distribute in excess of 4.25 kilograms of
heroin in the Eastern District of Virginia. The [IGB] membership
exceeded five people, who were managed by the defendant and
others within the organization, and who distributed narcotics for the
organization....

.. . During August of 2014, SMITH’S gang and a drug
organization run by Jason and Jeremy Saunders were involved in
several altercations stemming from the groups’ heroin dealing
operations. At one point in August 2014, SMITH gave the order for
the Saunders brothers to be eliminated. On August 19, 2014, gang
members Junious Whitaker, a/k/a “Redd,” P.S., and “Little Homie”
ambushed Jeremy Saunders and shot him three times. Five days
later, SMITH, Redd, and P.S. attacked the Saunders’ drug
distribution center located on Appomattox Avenue in Portsmouth.
Shots were fired by both sides, but no one was injured. SMITH
carried a gun during this attack but failed to disengage the safety and
was not able to get off a shot during the battle.

(ECF No. 146, at 1-2.)

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Smith’s use of firearms in this instance goes far beyond mere possession, as Smith
contends. Consequently, he has failed to establish that he is actually innocent of Count IV.

Accordingly, Claim Four will be DISMISSED.

In sum, counsel reasonably refrained from raising the above claims at trial and/or on
appeal. Smith has failed to demonstrate deficiency or prejudice, actual innocence, or any other
basis for excusing his default of Claims Two, Three, and Four.

IV. CONCLUSION

Smith’s § 2255 Motion (ECF No. 230) will be DENIED. Smith’s claims and the action
will be DISMISSED. A certificate of appealability will be DENIED.

An appropriate Order shall accompany this Memorandum Opinion.

It is so ORDERED.

 

 

 

Ist Ze 7.
Date: [6 September 2020 John A. Gibney, Jr.
Norfolk, Virginia United States District Judge

 

 

 

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